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     Attorneys for Plaintiff
 6
                           UNITED STATES DISTRICT COURT
 7
                                 DISTRICT OF ARIZONA
 8
     HOMELAND INSURANCE COMPANY
 9   OF NEW YORK,                                   NO. 05-CV-710-TUC-FRZ
10                                     Plaintiff,
                                                    PLAINTIFF HOMELAND
11        v.                                        INSURANCE COMPANY OF NEW
                                                    YORK’S REPLY
12   FIRST CORRECTIONAL MEDICAL                      TO COUNTERCLAIMANTS FIRST
     INC.,                                          CORRECTIONAL M EDICAL INC.
13                                                  AND FCM -TUCSON, LLC’S
                                     Defendant.     COUNTERCLAIMS
14
      __________________________________
15
     FIRST CORRECTIONAL MEDICAL,
16   INC.; and FCM-TUCSON, LLC.
17                             Counterclaimants,
18   v.
19   HOMELAND INSURANCE COMPANY
     OF NEW YORK,
20                  Counterdefendant.
21

22

23                 Plaintiff/counterclaim defendant Homeland Insurance Company of New
24   York (“Homeland”) hereby answers the Counterclaims of First Correctional Medical
25   Inc. and FCM-Tucson, LLC (collectively, “FCM”) as follows:
26
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 1                                   COUNTERCLAIM

 2                 1.        Homeland is without knowledge or information sufficient to

 3   form a belief as to the truth of the allegations contained in Paragraph 1, and on that
 4   basis denies the allegations.
 5                 2.        Homeland is without knowledge or information sufficient to
 6   form a belief as to the truth of the allegations contained in Paragraph 2, and on that
 7   basis denies the allegations.
 8                 3.        Homeland is without knowledge or information sufficient to
 9   form a belief as to the truth of the allegations contained in Paragraph 3, and on that
10   basis denies the allegations.
11                 4.        Homeland is without knowledge or information sufficient to
12   form a belief as to the truth of the allegations contained in Paragraph 4, and on that
13   basis denies the allegations.
14                 5.        Homeland is without knowledge or information sufficient to
15   form a belief as to the truth of the allegations contained in Paragraph 5, and on that
16   basis denies the allegations.
17                 6.        Homeland is without knowledge or information sufficient to
18   form a belief as to the truth of the allegations contained in Paragraph 6, and on that
19   basis denies the allegations.
20                 7.        Homeland is without knowledge or information sufficient to
21   form a belief as to the truth of the allegations contained in Paragraph 7, and on that
22   basis denies the allegations.
23                 8.        Homeland denies the allegations contained in Paragraph 8.
24                 9.        Homeland denies the allegations contained in Paragraph 9.
25                 10.       In response to the allegations contained in Paragraph 10,
26   Homeland admits only that it compensated Marsh with a standard commission fee in
     Case 4:05-cv-00710-FRZ Document 8 Filed 02/14/06 Page 3 of 9




 1   connection with the insurance policies issued to FCM. Homeland denies the remaining

 2   allegations contained in Paragraph 10.

 3                 11.       Homeland denies the allegations contained in Paragraph 11.
 4                 12.       Homeland is without knowledge or information sufficient to
 5   form a belief as to the truth of the allegations contained in the first two sentences of
 6   Paragraph 12, and on that basis denies the allegations. Homeland admits that it
 7   received a copy of the Notice of Claim, by facsimile, on September 13, 2005.
 8                 13.       In response to the allegations contained in Paragraph 13,
 9   Homeland admits only that, pending a complete coverage analysis and at the express
10   request of FCM, Homeland retained Sandra Rogers of Campbell, Yost, Clare & Norell,
11   P.C. to represent FCM’s interests in connection with the Notice of Claim. Homeland
12   further avers that, both prior to and after retaining M s. Rogers, Homeland expressly
13   reserved all of its rights and defenses to deny coverage under the Policies, including on
14   certain specified grounds, following a “written initial coverage analysis.” Homeland
15   denies the remaining allegations contained in Paragraph 13 and specifically denies that
16   FCM’s characterization of the referenced September 15, 2005 correspondence fully and
17   accurately sets forth the terms thereof.
18                 14.       In response to the allegations contained in Paragraph 14,
19   Homeland admits only that coverage counsel for Homeland sent a letter, dated
20   November 29, 2005, to FCM and that the contents of that letter speak for themselves.
21                 15.       Homeland is without knowledge or information sufficient to
22   form a belief as to the truth of the allegations contained in Paragraph 15, and on that
23   basis denies the allegations.
24                 16.       Homeland denies the allegations contained in Paragraph 16.
25                 17.       Homeland denies the allegations contained in Paragraph 17.
26                 18.       Homeland denies the allegations contained in Paragraph 18,
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 1   except that Homeland admits that it has denied coverage to FCM under the Policies in

 2   connection with the Notice of Claim.

 3                                  COUNT ONE
                                BREACH OF CONTRACT
 4
                   19.      Homeland repeats and incorporates by reference herein each of
 5
     the responses made in Paragraphs 1-18 above as if fully set forth herein.
 6
                   20.      Paragraph 20 asserts a legal conclusion to which no response
 7
     is required. To the extent a response is deemed required, Homeland denies the
 8
     allegations contained in Paragraph 20.
 9

10
                   21.      Paragraph 21 asserts a legal conclusion to which no response
11
     is required. To the extent a response is deemed required, Homeland denies the
12
     allegations contained in Paragraph 21.
13
                   22.      Homeland denies the allegations contained in Paragraph 22.
14
                                       COUNT TWO
15                                      BAD FAITH
16                 23.      Homeland repeats and incorporates by reference herein each of
17   the responses made in Paragraphs 1-22 above as if fully set forth herein.
18                 24.      Paragraph 24 asserts a legal conclusion to which no response
19   is required. To the extent a response is deemed required, Homeland denies the
20   allegations contained in Paragraph 24.
21                 25.      Homeland denies the allegations contained in Paragraph 25.
22                 26.      Homeland denies the allegations contained in Paragraph 26.
23                                  GENERAL DENIAL
24                 Homeland denies each and every allegation included in FCM’s
25   Counterclaims not specifically admitted above, including FCM’s requests for relief.
26
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 1                               AFFIRMATIVE DEFENSES

 2                                  First Affirmative Defense

 3                  FCM has failed to state a claim upon which relief can be granted.
 4                                Second Affirmative Defense
 5                  Coverage under the Policies for the Notice of Claim is limited by all of
 6   the terms, conditions, exclusions, limits of liability, and deductible amounts contained
 7   within the Policies and the Application.
 8                                 Third Affirmative Defense
 9                  Coverage for the Notice of Claim is barred by Question I(3)(b)of the
10   Application, which bars coverage for “any claim, or related claim, arising out of any
11   fact, circumstance, situation, transaction, event, act, error, or omission that is or should
12   have been disclosed in response to question 3(a) or 3(b)” of the Application.
13                                Fourth Affirmative Defense
14                  Coverage for the Notice of Claim is barred by the Primary Policy’s Prior
15   Knowledge Exclusion, Primary Policy Section III.D.1, which provides that there is no
16   coverage for Loss in connection with any Claim “based upon, arising out of, directly
17   or indirectly resulting from, in consequence of, or in any way involving any actual or
18   alleged…W rongful Act or Occurrence that happened before the Retroactive Date if
19   applicable, or after the Retroactive Date if, on the Inception Date of this Policy, the
20   Insured knew, had been told, should have known or had notified a prior professional
21   liability insurer or administrator of any other risk transfer instrument that such
22   Wrongful Act or Occurrence would or could result in a Claim.”
23                                  Fifth Affirmative Defense
24                  Coverage for the Notice of Claim is barred by the Excess Policy’s Prior
25   Knowledge Exclusion, Excess Policy Section I.E.4, which provides that there is no
26   coverage for any Claim “based on, arising out of, directly or indirectly resulting from,
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 1   in consequence of, or in any way involving, any fact, circumstance, event or

 2   transaction, or any series of facts, circumstances, events or transactions, about which

 3   the Insured had knowledge prior to the Inception Date of this Policy as stated in ITEM
 4   2 of the Declarations.”
 5                                  Sixth Affirmative Defense
 6                 Coverage for the Notice of Claim is or may be barred, in whole or in part,
 7   by Endorsement No. 13 to the Primary Policy and Endorsement No. 10 to the Excess
 8   Policy, both of which provide that:
 9   [n]o coverage will be available under this Policy for Claims based upon, arising out of,
10   directly or indirectly resulting from, in consequence of, or in any way involving any
11   actual or alleged violation by an Insured of a prisoner’s civil rights pursuant to 42
12   U.S.C. Sections 1983 or 1988, or any similar applicable state or federal law; provided
13   that, subject to paragraph (2) of this endorsement, this exclusion shall not apply to the
14   extent that any act, error or omission constituting any such alleged civil rights violation
15   also gives rise to liability in a non-civil rights Claim for which coverage is provided
16   under the Policy.
17                                Seventh Affirmative Defense
18                 Coverage for the Notice of Claim is barred, in whole or in part, to the
19   extent that it constituted a known loss, known risk, or loss in progress prior to the
20   inception of the Policies.
21                                Eighth Affirmative Defense
22                 Coverage for the Notice of Claim is barred, in whole or in part, to the
23   extent that it is based upon, arises from, or is in consequence of any willful, intentional
24   or bad faith conduct of the Insureds, which conduct is or may be uninsurable.
25

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 1                                Ninth Affirmative Defense

 2                 Coverage for any loss arising out of the Notice of Claim is barred, in

 3   whole or in part, to the extent that such loss includes punitive or exemplary damages,
 4   the multiple portion of any multiplied damage award, fines, penalties, sanctions, fees,
 5   or matters which are uninsurable under applicable law, which are excluded from the
 6   Primary Policy’s definition of “Loss” set forth in Primary Policy Section II.R.
 7                               Tenth Affirmative Defense
 8                 FCM is not entitled to a defense under the Policies in connection with the
 9   Notice of Claim because there is no coverage under the Policies for the Notice of
10   Claim.
11                              Eleventh Affirmative Defense
12                 Coverage is barred, in whole or in part, to the extent that any liability,
13   including punitive damages, is uninsurable.
14                              Twelfth Affirmative Defense
15                 FCM is not entitled to coverage for the Notice of Claim because, among
16   other reasons, FCM has failed to comply with conditions precedent to coverage under
17   the Policies and because FCM has breached other terms and conditions of the Policies.
18                             Thirteenth Affirmative Defense
19                 Any award of punitive damages in this case would be in violation of the
20   constitutional safeguards provided to Homeland under the Constitution of the State of
21   Arizona and the Constitution of the United States.
22                             Fourteenth Affirmative Defense
23                 Homeland denies that any of its conduct would support an award of
24   punitive damages.
25

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 1                               Fifteenth Affirmative Defense

 2                  FCM cannot establish a cause of action for bad faith because Homeland

 3   had a fairly debatable reason for denying coverage to FCM in connection with the
 4   Notice of Claim, and FCM has not contended, and cannot contend, that Homeland
 5   intentionally denied coverage without a founded belief that its conduct was permitted
 6   under the terms of the Policies.
 7                               Sixteenth Affirmative Defense
 8                  Coverage is barred, in whole or in part, to the extent that FCM has not
 9   suffered a compensable loss.
10                             Seventeenth Affirmative Defense
11                  FCM ’s recovery, if any, must be reduced because of its failure to mitigate
12   its damages.
13                              Eighteenth Affirmative Defense
14                  FCM ’s claims are barred by the doctrines of estoppel, waiver, laches
15   and/or unclean hands.
16                              Nineteenth Affirmative Defense
17                  FCM lacks standing to assert the Counterclaims.
18                              Twentieth Affirmative Defense
19                  Homeland reserves the right to deny coverage for the claims asserted by
20   FCM based upon each and every applicable provision of the Policies and the
21   Application, and as provided by law.
22                  WHEREFORE, Homeland respectfully requests that all of FCM ’s
23   Counterclaims be dismissed with prejudice, and that this Court award Homeland such
24   other and further relief as this Court deems just and proper.
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 1
                  RESPECTFULLY SUBMITTED this 14th day of February, 2006.
 2
                                         JONES, SKELTON & HOCHULI, P.L.C.
 3

 4
                                         By s/Neil Singh
 5                                          Donald L. Myles, Jr.
                                            Neil Singh
 6                                          2901 North Central Avenue, Suite 800
                                            Phoenix, Arizona 85012
 7                                          Attorneys for Defendant
 8   PLAINTIFF HOMELAND INSURANCE
     COMPANY OF NEW YORK’S REPLY
 9    TO COUNTERCLAIMANTS FIRST
     CORRECTIONAL MEDICAL, INC.
10   AND FCM-TUCSON, LLC’S
     COUNTERCLAIMS electronically filed/served
11   this 14 th day of February, 2006, to:
12   ALL PARTIES ON ELECTRONIC
     SERVICE LIST
13

14   /s/: Mica Milano
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